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UN|TED STATES DlSTR|CT COURT

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MEMPHIS DlVlSlON 95 JUN 22 PH |2: 06

UN|TED STATES OF AMERICA goggiro jj, pg jjq@j_|()
CLEFlK, U.S. DlST. CT.

_v_ 2:04CR20216_01_M| W.D, OF TN_. Mt:i\liPH!S

KELLI LORRA|NE POLLAiRD
Anthony He|ml Retained
Defense Attorney
5705 Stage Road, #110
Bart|ett, TN 38134

 

*A-M-E-N-D-E-D‘ JUDGMENT lN A CRlM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 and 2 of the indictment on |Vlarch 17, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit|e & Section ML\M§B_S£ Offense Numberjsj
Conc|uded
18 U.S.C. § 371 Conspiracy to Defraud the United 11/30/2001 1
States _
18 U.S.C. § 666 and 2 Theft from Programs Receiving 11/30/2001 2

Federa| Funds

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution. costs and special assessments imposed by this judgment are fully paid.
Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 12/11/1967 June 16, 2005
Deft’s U.S. Marshal No.: 15529-076

Defendant’s Nlailing Address:

2520 North Umber|and Lane, #1 §
lVlemphis, TN 38128 J (Q
' JON PH|PPS McCALLA
|TED TATES DlSTR|CT JUDGE
June 2 j , 2005

 

IAmend¢d to reflect COIT€C¢ amount Ofl’€SfifUtiqlhluldthisr&Bf},BBt'ef)i);l on the docket sheet in compliance
with Ru|e 546 and/or 32('0) FFlCrP on _(L£g_/Qi___ ¢7

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Case No: 2:04CR20216-01-M| Defendant Name: Kelli Lorraine POLLARD Page 2 of 6
lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 27 Months (or 2 years and 3 months) as to Count
1; 27 Months (or 2 years and 3 months) as to Count 2. Counts 1 and 2 are to be served
concurrently with each other for a total term of incarceration of 27 Months (or 2 years
and 3 months).

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Nlarsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 3 years as to Count 1; 3 years as to Count 2. Counts 1 and 2 are to be
supervised concurrently with each other for a total term of supervised release of 3
years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave the judicial district without the permission of the court or probation ofticer;

2. The defendant shall report to the probation ofncer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation omcer and follow the instructions of
the probation ofticer;

4. The defendant shall work regularly at a lawful occupation uniess excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess. use,

distributel or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances. except as prescribed by a physician. and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent pieces where controlled substances are illegally sold, used,
distributed. or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and

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shall permit confiscation of any contraband observed in plain view by the probation ofticer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court; '

12. As directed by the probation ofticer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notincations and to conhrm the defendants compliance with such
notification requirementl

13. |f thisjudgment imposes a fine or a restitution obligationl it shall be a condition of supervised release

that the defendant pay any such Hne or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADDlTlONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:
1. The defendant shall cooperate with DNA testing as directed by the Probation Oflice.

2. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

3. The defendant shall provide third-party risk notification

4. The defendant shall be:prohibited from incurring new credit charges, opening additional lines
of credit or making an obligation for any major purchases without the prior approval of the
Probation Oche.

5. The defendant shall make full financial disclosure

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CRfM|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Tota| Assessment Tota| Fine Total Restitution
$200.00 *§80,836.00

The Special Assessment shall be due immediately.

FlNE
No fine imposed.

REST|TUTION

Restitution in the amount of *§80,836.00 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

Priority
Tota| Amount of Order
Name of pa)[ee Amount Restitution Ordered or
of Loss Percentage
of Payment

LeMoyne-Owen Co||ege *§80,836.00 *§80,836.00
Attn: Fiscal Services

807 Wa|ker Avenue
Memphis, TN 38126
RE: Restitution (Ke||i Pol|ard)

 

*Restitution is to be naid joint and several with Verde|| Pol|ardl 2:04CR20213; Marlon

Thomas, 2:04CR20488; Mar|'on Briggsl 2:04CR20210; and Aaron Boc)nel 2:04CR20217.

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othen~ise in the priority order or percentage payment
column above.

 

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

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Case No: 2:04CR20216-O1-Ml Defendant Name: Ke|li Lorraine POLLARD Page 6 of 6

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income.

Un|ess the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment A|l criminal monetary penalties, except those payments made through the
Federa| Bureau of Prisons‘ inmate Financia| Responsibility Program, are made to the clerk of the
oourt. unless othenivise directed by the court, the probation ofticer, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

   

UNITED sTATE DRISTIC COURT - W'"RNTE D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:04-CR-202]6 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

Anthony Helm

LAW OFFICES OF ANTHONY HELM
5705 Stage Road

Ste. 1 10

Bartlett7 TN 3 8134

Dan NeWSom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

